                  Case 1-18-44222-ess                           Doc 1        Filed 07/23/18              Entered 07/23/18 15:18:30



     Fill in this information to identify the case:

     United States Bankruptcy Court for the:

 Ccf.$1efr1                     District of   AJeu., Ya X
                                              (State)
     Case number (If known): _ _ _ _ _ _ _ _ _ _ Chapter _ _                                                                                       D   Check if this is an

                                                                                                                          ·ZHl8 JUL 23 p 3: arended filing
                                                                                                                          l· :-




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                   04/16

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




1.     Debtor's name



2.     All other names debtor used
       in the last 8 years
       Include any assumed names,
       trade names, and doing business
       as names




3.    Debtor's federal Employer
      Identification Number (EIN)



4.    Debtor's address                            Principal place of business                                  Mailing address, if different from principal place
                                                                                                               of business

                                                   ci~ (;p9i qJ.,,J..
                                                  Number        Street
                                                                                    911~2-f-
                                                                                                               Number             Street



                                                                                                               P.O. Box


                                                  City            '
                                                                                  /v.Y
                                                                                  State
                                                                                             IJ:12,~
                                                                                             ZIP Code          City                        State         ZIP Code


                                                                                                               Location of principal assets,   if different from
                                                                                                               principal place of business


                                                                                                               Number             Street




                                                                                                               City                        State         ZIP Code




s. Debtor's website (URL)

                                                  ~rporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
s. Type of debtor
                                                  0     Partnership (excluding LLP)
                                                  0     other. Specify: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




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Debtor                                                                                           Case number (ii known)_ _ _ _ _ _ _ _ _ _ _ _ __


                                         A. Check one:
7.     Describe debtor's business
                                         D Health Care Business (as defined in 11 U.S.C. § 101{27A})
                                         D Single Asset Real Estate (as defined in 11 U.S.C. § 101 (51 B))
                                         D Railroad (as defined in 11 U.S.C. § 101(44))
                                         D Stockbroker (as defined in 11 U.S.C. § 101 (53A))
                                         D Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         D Clearing Bank (as defined in 11,U.S.C. § 781 (3))
                                         l!l'None of the above


                                         B. Check all that apply:

                                         D Tax-exempt entity (as described in 26 U.S.C. § 501)
                                         D Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § BOa-3)
                                         D Investment advisor (as defined in 15 U.S.C. § 80b-2{a)(11))
                                                                                                              o<~         ,. ~. • · • ' · • • • ' ~ " • " - · - · • · •


                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-diqit-national-association-naics-codes .

                                             !:1--2~ _3_
B.     Under which chapter of the        Check one:
       Bankruptcy Code is the
       debtor filing?                    D   Chapter?
                                         D   Chapter 9
                                         10'Chapter 11. Cf'yJck all that apply:
                                                          ~   Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                              insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                              4/01/19 and every 3 years after that).
                                                          D   The debtor is a small business debtor as defined in 11 U.S.C. § 101(510). If the
                                                              debtor is a small business debtor, attach the most recent balance sheet, statement
                                                              of operations, cash-flow statement, and federal income tax return or if all of these
                                                              documents do not exist, follow the procedure in 11 U.S.C. § 1116(1 )(B}.

                                                          D   A plan is being filed with this petition.

                                                          D   Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                          D   The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                          D   The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                         D   Chapter 12

9.    Were prior bankruptcy cases
      filed by or against the debtor
                                         iil'No
      within the last 8 years?           D Yes.    District _ _ _ _ _ _ _ _ When _ _ _ _ _ _ Case number _ _ _ _ _ _ _ __
                                                                                 MM/ DD/YYYY
       If more than 2 cases, attach a
                                                   District _ _ _ _ _ _ _ _ _ When _ _ _ _ _ _ Case number _ _ _ _ _ _ _ __
       separate list.
                                                                                   MM/ DD/YYYY

10. Are any bankruptcy cases             ~o
      pending or being filed by a
      business partner or an             D Yes.    Debtor _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Relationship
      affiliate of the debtor?                     District _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ When
                                                                                                                               MM / DD                              /YYYY
       List all cases. If more than 1,
       attach a separate list.                     Case number, if known _ _ _ _ _ _ _ _ _ _ __


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Debtor                                                                                     Case number (if known),_ _ _ _ _ _ _ _ _ _ _ _ __



11. Why is the case filed in this    Check all that apply:
   district?
                                     ifoebtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                        immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                        district.

                                     0   A bankruptcy case concerning debtor's affiliate, general partner, or partnership is p'ending in this district.


12. Does the debtor own or have
   possession of any real
                                     ~
   property or personal property
                                     D Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
   that needs immediate                       Why does the property need immediate attention? (Check all that apply.)
   attention?
                                              0   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                  What is the hazard? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                              0   It needs to be physically secured or protected from the weather.

                                              0   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                  attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                  assets or other options).

                                              D   Other _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




                                              Where is the property?_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                          Number         Street




                                                                          City                                            State       ZIP Code


                                              Is the property insured?

                                              0   No
                                              D   Yes. Insurance agency _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                                       Contact name

                                                       Phone




          Statistical and administrative information



13. Debtor's estimation of           Check one:
   available funds                   0   Funds will be available for distribution to unsecured creditors.
                                     D   After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                    ··-~~~
                                                                      0 1,000-5,000                              0 25,001-50,000
14. Estimated number of
                                     D 50-99                          0 5,001-10,000                             D 50,001-100,000
   creditors
                                     D 100-199                        0 10,001-25,000                            D More than 100,000
                                     0 200-999

                                     D $0-$50,000                     0    $1,000,001-$10 million                D $500,000,001-$1 billion
1s. Estimated assets                 D J50,001-$100,ooo               0    $10,000,001-$50 million               0   $1,000,000,001-$10 billion
                                     ~$100, 001-$500, 000             0    $50,000,001-$100 million              D $10,000,000,001-$50 billion
                                     0 $500,001-$1 million            0    $100,000,001-$500 million             0   More than $50 billion




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Debtor                                                                                             Case number (ilknown)c.._ _ _ _ _ _ _ _ _ _ _ _ __



                                         D $0-$50,000                             ~1,000,001-$10 million                     D $500,000,001-$1 billion
16. Estimated liabilities
                                         D $50,001-$100,000                       D $10,000,001-$50 million                  D $1,000,000,001-$10 billion
                                         D $100,001-$500,000                      D $50,000,001-$100 million                 D $10,000,000,001-$50 billion
                                         D $500,001-$1 million                    D $100,000,001-$500 million                D More than $50 billion


           Request for Relief, Declaration, and Signatures


WARNING -     Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
              $500,000 or imprisonmentfor up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


11. Declaration and signature of        irn    The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
   authorized representative of
                                               petition.
   debtor

                                        !'Ii    I have been authorized to file this petition on behalf of the debtor.

                                        111    I have examined the information in this petition and have a reasonable belief that the information is true and
                                               correct.


                                        I declare under penalty of perjury that the foregoing is true and correct.




                                         j('''"'A:7~
                                               Signature of authorized representative of debtor            Printed name


                                               Title   ___._e~lt:?~1~¼~·'~d-_ ______


1s. Signature of attorney
                                                                                                           Date
                                               Signature of attorney for debtor                                         MM      /DD /YYYY




                                               Printed name


                                               Firm name


                                               Number          Street


                                               City                                                             State            ZIP Code



                                               Contact phone                                                    Email address




                                               Bar number                                                       State




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                                             UNITED STATES BANKRUPTCY COURT
                                              EASTERN DISTRICT OF NEW YORK
                                                     www.nyeb.uscourts.gov

                                               STATEMENT PURSUANT TO LOCAL
                                                 BANKRUPTCY RULE 1073-2(b)




     DEBTOR(S):Gvr~.sy               '7rqn5r,*'1,v;,i      9e1v1C,c!}..   :t1c.                    CASE NO.: - - - - - - - - -

              Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure
     concerning Related Cases, to the petitioner's best knowledge, information and belief:

     [NOTE: Cases shall be deemed "Related Cases" for purposes ofE.D.N.Y. LBR 1073-1 and E.D.N.Y. LBR 1073-2 if the earlier case
     was pending at any time within eight years before the filing of the new petition, and the debtors in such cases: (i) are the same;
     (ii) are spouses or ex-spouses; (iii) are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership;
     (v) are a partnership and one or more of its general partners; (vi) are partnerships which share one or more common general partners;
     or (vii) have, or within 180 days of the commencement of either of the Related Cases had, an interest in property that was or is
     included in the property of another estate under 11 U.S.C. § 541(a).]


     ~ O RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.

     0 THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:

     1. CASE NO.: _ _ _ _ _ __                JUDGE: _ _ _ _ _ _ _ _ _ _ DISTRICT/DIVISION: _ _ _ _ _ __

     CASE STILL PENDING: (YES/NO): _ _ _ [If closed] Date of closing: _ _ _ _ _ _ _ __

     CURRENT STATUS OF RELATED CASE: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                     (Discharged/awaiting discharge, confirmed, dismissed, etc.)

     MANNER IN WHICH CASES ARE RELATED (Refer to NOTE a b o v e ) : - - - - - - - - - - - - - - - - ~ -

     REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ('REAL PROPERTY') WHICH WAS ALSO LISTED IN
     SCHEDULE "A" OF RELATED CASES: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



     2. CASE NO.: _ _ _ _ _ __ JUDGE: _ _ _ _ _ _ _ _ _ DISTRICT/DIVISION: _ _ _ _ _ _ __

     CASE STILL PENDING: (YES/NO): _ _ _ [If closed] Date of closing: _ _ _ _ _ _ _ __

     CURRENT STATUS OF RELATED CASE: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                     (Discharged/awaiting discharge, confirmed, dismissed, etc.)

     MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):_-_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ('REAL PROPERTY') WHICH WAS ALSO LISTED IN
     SCHEDULE "A" OF RELATED CASES: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
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">o.,
   (
                                                                      [OVER]

        DISCLOSURE OF RELATED CASES (cont'd)


        3. CASE NO.: _ _ _ _ _ __              JUDGE:
                                                         - - - - - - - - - - DISTRICTillIVISI ON: - - - - - - - -
        CASE STILL PENDING: (YES/NO): _ __                     [If closed} Date of closing: _ _ _ _ _ _ _ __

        CURRENT STATUS OF RELATED C A S E : - - - - ~ - - - - - - - - - - - - - - - - - - - -
                                     (Discharged/awaiting discharge, confirmed, dismissed, etc.)

        MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

        REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ('REAL PROPERTY') WHICH WAS ALSO LISTED IN
        SCHEDULE "A" OF RELATED CASES:




        NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days
        may not be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.


        TO BE COMPLETED BY DEBTOR/PETITIONER'S ATTORNEY, AS APPLICABLE:

        I am admitted to practice in the Eastern District of New York (Y/N): _ __

        CERTIFICATION (to be signed by pro-se debtor/petitioner or debtor/petitioner's attorney, as applicable):

        I certify under penalty of perjury that the within bankruptcy case is not related to any case now pending or pending at any
        time, except as indicated elsewhere on this form.



        Signature of Debtor's Attorney                                            Signature of Pro-se Debtor/Petitioner


                                                                                  Mailing Address of Debtor/Petitioner

                                                                                      ~ r0~1-Jv~ fL,.Y. J).J-JG
                                                                                  City, State, Zip Code

                                                                                     5--kve,1 h ({?._. CCP(.J/je~;ttcrn s ,Co/").
                                                                                   Email Address                     '


                                                                                   Area Code and Telephone Number


        Failure to fully and truthfully provide all information required by the E.D.N.Y. LBR 1073-2 Statement may subject the debtor
        or any other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment
        of a trustee or the dismissal of the case with prejudice.

        NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may
        otherwise result.
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------------x

In re:                                                                       Case No.
                                                                             Chapter
Covr }e!;',,y T'lcr YJ '::>fo /}ct }1.,-1 5e,v ce,.:J.r1o
                                                  1



                                            Debtor(s)
-----------------------------------------------------------x

                                            AFFIRMATION OF FILER(S)
All individuals filing a bankruptcy petition on behalf of a pro se debtor(s), must provide the following
information:

Name of Filer:
Address:
Email Address:               Sttl/~l'J), t? Col>1:feo/1r0tn.S C<?)-4?
Phone Number:             ( '7 / 6 ) rff/, '-Jl.f Io

Name of Debtor(s):



CHECK THE APPROPRJ.ATE RESPONSES:
ASSISTANCE PROVIDED TO DEBTOR(S):

  /      I PREPARED THE PETITION AND/OR ASSISTED WITH THE PAPERWORK BY DOING
         THE FOLLO"W1NG: j; down }oqJ.aJ        S q,-,d.        fo//Yl
                                                         7 /'?'&>J. :Jhe"'      /"r

         I DID NOT PROVIDE THE PAPERWORK OR ASSIST WITH COMPLETING THE FORMS.


           CEIVED:
         I ViTAS NOT PAID.


         I WAS PAID.
                          ,A.mount Paid: $ - - - - - -


I/We hereby affirm the information above under the penalty of perjury.



           J/2~ )Jcj
Dated: ~-1-,-'--7~---
                                                                     Filer's Signature
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Courtesy Transportation Services Inc.




                                          Internal Revenue Service
                                             2 Metrotech Center
                                         Brooklyn, New York 11201
                                              Att: J. D'EREDITA

                                        NYS Department of Taxation
                                          WA Harriman Campus
                                            Albany, NY 12227

                                          NYS Department of Labor
                                        Harriman State Office Campus
                                           Building 12, Room 256
                                              Albany, NY 12212
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                                    CORPORATE RESOLUTION




                           ~~-
A meeting of the Shareholder1of Courtesy Transportation was held on July 9, 2018. It is hereby resolved
that Courtesy Transportation Services, Inc. is authorized to file a Chapter 11 Bankruptcy.




Steven Kwestel
President
